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EFILED

David Samuel, Pro Se
Sydney Roberts, Pro Se
108 Rinetti Way

Rio Linda, CA 95673
512-522-8571
edfed@possiblymaybe.com

IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF CALIFORNIA

SYDNEY BROOKE ROBERTS Case No: 2:22-cv-01699 DJC AC
DAVID TYRONE SAMUEL,
AIMS (A MINOR), NOTICE OF SUPPLEMENTAL FILING
DAYS (A MINOR)
Plaintiffs, Date: April 23, 2025
Time: 10:00 a.m.
V. Location: Courtroom 26

Judge: Magistrate Judge Allison Claire

SACRAMENTO HOUSING AND
REDEVELOPMENT AGENCY ET AL.,

Defendants

TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:

1) Plaintiffs David Samuel and Sydney Roberts respectfully submit this Notice of
Supplemental Filing in support of their previously filed Amended Opposition to
Defendant's Motion for Summary Judgment (filed April 10, 2025).

2) This supplemental filing includes Exhibits S, T, and U, which demonstrate
Defendant Sacramento Housing and Redevelopment Agency's (SHRA’s) continuing
failure to provide due process in connection with Plaintiffs’ reasonable accommodation

request.

NOTICE OF SUPPLEMENTAL FILING - |!

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3) The new exhibits are as follows:
4) Exhibit S —~ Video Recordings of Cancelled Informal Hearing on June 2, 2023
(Parts 1 and 2)
5) Exhibit T — Email dated October 31, 2023 showing SHRA had not rescheduled
either cancelled hearing
6) Exhibit U - Documents showing SHRA denied access to an approvable three-
bedroom unit and voided the RFTA without justification
7) These materials further support Plaintiffs’ claim that SHRA failed to comply with
24 C.F.R. § 982.555 and continue to violate Plaintiffs’ due process rights. Plaintiffs
reserve the right to incorporate these facts into an amended complaint or supplemental
pleading under Rule 15(d).

Supplemental Argument — Genuine Disputes of Material Fact
8) Piaintiffs respectfully submit that summary judgment must be denied because
there are genuine disputes of material fact concerning the core issues raised by
Defendant's motion. The following evidence, supported by sworn declarations and
contemporaneous documentation, creates substantial factual disagreements that must
be resolved by a jury:
9) SHRA falsely claims that it granted Plaintiffs’ reasonable accommodation
request. However, the April 4, 2023 denial letter (Exhibit Q) and the voiding of the RFTA
for the requested unit (Exhibits U1—U5) directly contradict this claim and establish that
the request was denied in practice.
10) SHRA asserts that it provided an informal hearing. This is directly refuted by
Exhibits H, S, and T, which show that the September 2022 and June 2023 hearings

NOTICE OF SUPPLEMENTAL FILING - 2

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were both cancelled, no decisions were issued, and no subsequent hearing was
rescheduled.

11) Defendant implies that Plaintiffs were at fault for delays in the housing process.
The record shows otherwise. Plaintiffs submitted an expedited RFTA request that SHRA
agreed to process (Exhibit U5), but SHRA failed to act for more than 30 days, resulting
in the loss of the unit. This is clear harm caused by Defendant's inaction.

12) Defendant claims it followed proper process and policy. However, SHRA's own
denial letters (Exhibits E, F, Q) cite only internal policy and omit any individualized
analysis or evidence of an interactive process. This alone creates a triable issue under
the FHA and ADA.

13) | SHRA also implies that Plaintiffs failed to participate in discovery. The record
demonstrates the opposite. Plaintiffs initiated multiple meet-and-confer attempts
(Exhibits B, C, D, R), disclosed their witness list and evidence, and have submitted
sworn declarations and documentation in response to SHRA’s motion.

14)  Plaintiffs' supplemental exhibits (S—U5) further demonstrate an ongoing pattern
of obstruction, retaliation, and failure to provide due process. The video recordings and
timeline emails show a consistent refusal to comply with legal obligations, even after
litigation commenced.

15) Each of the above disputes goes to the heart of Plaintiffs’ claims under the Fair
Housing Act, the ADA, and related federal regulations. As such, summary judgment is

inappropriate and the matter should proceed to trial.

Respectfully Submitted,
NOTICE OF SUPPLEMENTAL FILING -3

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Davill Samued
David Samuel
Date 04/10/2025

Sy drvowy Usenkr

Sydney Roberts
Date 04/10/2025

NOTICE OF SUPPLEMENTAL FILING - 4

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Exhibit T

.
iM Gmail David Samuel <davidsa@possiblymaybe.com>

Meeting Scheduled | Mon. 10/16/2023 at 11:00am (630 | Street)

David Samuel <davidsa@possiblymaybe.com> Tue, Oct 31, 2023 at 11:36 AM
To: Reasonabie Accommodations <ra@shra.org>

All,

We have not received any update regarding a rescheduled hearing, nor have we received any formal notice regarding
the calculation summary. This denial of due process is causing harm to our family.

Please advise when both formal notice regarding the income calculation and hearing will be available.

David
[Quoted text hidden]
Case 2:22-cv-01699-DJC-AC Document91-1 Filed 04/10/25 Page 6of15

Exhibit U-1

*
Mm Gmail David Samuel <davidsa@possiblymaybe.com>

Application Update

Arbors at Antelope Leasing <Arborslease@greystar.com> Fri, Apr 28, 2023 at 12:56 PM
To: David Samuel <davidsa@possiblymaybe.com>

Hello Mr. Samuel,

| regret to inform you that as of today, SHRA has decided to void your RFTA. Based on the affordability
and pricing of the home, they have determined that you are not eligible for this home. Due to that, we
will be denying your application and will be refunding your $200 holding deposit. May we have the best
forwarding address to send your check?

You are more than welcome to re-apply, however, | would contact your case worker to see if anything
that would need updating before re-applying. Based on their response, their max payment allowance
was $2147.00 If you'd like to contact SHRA to get more information on their reason for denial, | would
recommend giving them a call at: 916-440-1390

If there is anything else that we may be of assistance, feel free to give us a call or an email back. Thank
you for your time and it was a pleasure working with you.

Sincerely,
Bryon Robinson | Leasing Professional |

The Arbors at Antelope | 3700 Navaho Dr. | Antelope, CA 95843
0 916.344.5222 | arborslease@greystar.com

Proudly managed by Greystar®
Join Greystar® in supporting St. Jude Children’s Research Hospital and Camp Hope

From: David Samuel <davidsa@possiblymaybe.com>

Sent: Tuesday, April 25, 2023 4:23 PM

To: Arbors at Antelope Leasing <Arborslease@greystar.com>
Subject: Re: [EXTERNAL] Re: Application Update

(Quoted text hidden]
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Exhibit U-2
Rent Affordability Worksheet For Housing Choice Voucher Program
INVESTING IN COMMUNITIES
March 31, 2023
Name: Sydney Roberts Tenant Code: t0032944
Prospective Address: 7957 Papago Way, Antelope CA 95843Thomas Grid:
Voucher Issue Date: 03-15-2023 Voucher Expiration Date: 08-15-2023

1. Authorized Voucher Size:
2. Total BR Size of Unit:
3. Authorized Payment Standard for zipcode 95843 (from schedule using lower of voucher size and unit size):

4. Utility Allowance (from schedule using lower of voucher size and unit size):
Unit Type: HCV Duplex/Townhouse/Semi-detached
Cooking - Electric. 13
Heating - Electric: 27
Water Heating - Electric: 30
Sewer: 18
Range or Microwave 11

5. How much is the rent?:
6. Gross Rent of Unit (Contract Rent plus Utility Allowance):

If Gross Rent is less than Payment Standard (line 6 < line 3) then unit is approvable. You can stop here.
Otherwise 40% rule (below) applies.

7. Adjusted Monthly Income (ami):

8. Unadjusted Monthly Income (umi):

9. TTP (higher of 30% of ami or 10% of umi or $50):

10. Total Housing Payment (GR - TTP):

11. Tenant's Portion of Rent (Contract Rent - Total Housing Payment):

3,240

2,800
2899

1333
1500
400
2499
301

Note: if this amount is hegative, it is sent to the tenant, called utility reimbursement payment, and tenant rent to owner is

zero
12. 40% of adjusted monthly:

533

40% Rule: If Tenant Portion of Rent plus Utility Allowance is less than 40% of monthly adjusted income, (line 11

plus line 4 < line 12) then unit is approvable
Case 2:22-cv-01699-DJC-AC Document91-1 Filed 04/10/25 Page 8of 15
Exhibit U-2

This unit is approvable
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(A ae N faa Payment Standards
CHANGING LIVES Housing Choice Voucher Program

Exhibit U-3

Families participating in the Housing Choice Voucher (HCV) program benefit from a subsidy
each month to help pay their rent and utilities. The subsidy varies for each family depending
upon the family’s size and income.

The U. S. Department of Housing and Urban Development (HUD) has mandated 24 jurisdictions
in the country, including the Housing Authority of Sacramento County, to begin using Fair
Market Rents (FMRs) based on zip codes, called Small Area FMRs (SAFMRs), to establish
payment standards. The Payment Standard is the maximum amount of assistance a family can
receive and is based on the region’s fair market rent and funding from HUD.

This is not the maximum rent that can be charged by landlords. This is the maximum amount a
family can receive, but monthly assistance may be different.

The amount of rent a landlord can charge must be “reasonable” when compared to unassisted
rental units in the neighborhood with similar amenities.

The chart below shows the Payment Standard for Sacramento County zip codes and the bedroom
sizes listed.

Payment Standards Effective January 1, 2023

95608 $1,440 $1,584 $1,980 $2,808 $3,276 $3,766

95610 $1,524 $1,668 $2,100 $2,988 $3,480 $4,002
95615 $1,080 $1,176 $1,488 $2,124 $2,556 $2,938
95621 $1,500 $1,644 $2,064 $2,928 $3,420 $3,932
95624 $1,812 $1,980 $2,484 $3,528 $4,116 $4,732
95626 $1,740 $1,908 $2,400 $3,408 $3,972 $4,567
95628 $1,596 $1,752 $2,196 $3,120 $3,636 $4,180
95630 $2,016 $2,208 $2,772 $3,936 $4,584 $5,271
95632 $1,476 $1,620 $2,040 $2,892 $3,372 $3,877
95638 $1,488 $1,632 $2,052 $2,916 $3,396 $3,904
95641 $1,068 $1,164 $1,464 $2,076 $2,424 $2,787
95652 $1,476 $1,620 $2,028 $2,880 $3,360 $3,864
95655 $2,100 $2,304 $2,892 $4,116 $4,788 $5,505
95660 $1,392 $1,524 $1,908 $2,712 $3,156 $3,628
95662 $1,716 $1,884 $2,364 $3,360 $3,912 $4,498
95670 $1,368 $1,500 $1,884 $2,676 $3,120 $3,588
95673 $1,524 $1,668 $2,088 $2,964 $3,456 $3,974
95683 $2,292 $2,520 $3,156 $4,488 $5,220 $6,002
95690 $1,068 $1,176 $1,476 $2,100 $2,448 $2,815

pont Sacramento Housing & Redevelopment Agency 630 | Street, Sacramento CA 95814 &
(916) 440-1390 | TTY 711 or 1 (800) 855-7100 | www.shra.org Rev. 9/26/22

Case 2:22-cv-01699-DJC-AC Document 91-1

‘toe

$1,644

$2,268

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"$3,228

$3,756

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95693 $1,812 $4,318
95742 $2,292 $2,520 $3,156 $4,488 $5,220 $6,002
95757 $2,256 $2,472 $3,108 $4,416 $5,148 $5,919
95758 $1,644 $1,800 $2,256 $3,204 $3,732 $4,291
95811 $1,284 $1,404 $1,764 $2,508 $2,916 $3,352
95814 $1,512 $1,656 $2,076 $2,952 $3,432 $3,946
95815 $1,260 $1,380 $1,728 $2,460 $2,856 $3,284
95816 $1,776 $1,956 $2,448 $3,480 $4,056 $4,664
95817 $1,308 $1,440 $1,800 $2,556 $2,976 $3,422
95818 $1,644 $1,800 $2,256 $3,204 $3,732 $4,291
95819 $1,848 $2,028 $2,544 $3,612 $4,212 $4,843
95820 $1,416 $1,548 $1,944 $2,760 $3,216 $3,698
95821 $1,332 $1,464 $1,836 $2,604 $3,036 $3,490
95822 $1,452 $1,584 $1,992 $2,832 $3,300 $3,794
95823 $1,332 $1,464 $1,836 $2,604 $3,036 $3,490
95824 $1,200 $1,320 $1,656 $2,352 $2,736 $3,146
95825 $1,440 $1,584 $1,980 $2,808 $3,276 $3,766
95826 $1,416 $1,548 $1,944 $2,760 $3,216 $3,698
95827 $1,524 $1,668 $2,100 $2,988 $3,480 $4,002
95828 $1,428 $1,560 $1,956 $2,784 $3,240 $3,726
95829 $1,920 $2,100 $2,640 $3,756 $4,368 $5,023
95830 $1,920 $2,100 $2,628 $3,744 $4,356 $5,008
95831 $1,716 $1,884 $2,364 $3,360 $3,912 $4,498
95832 $1,740 $1,908 $2,388 $3,396 $3,948 $4,539
95833 $1,704 $1,860 $2,340 $3,324 $3,876 $4,456
95834 $1,620 $1,776 $2,232 $3,168 $3,696 $4,250
95835 $2,052 $2,244 $2,820 $4,008 $4,668 $5,367
95837 $1,500 $1,572 $2,004 $2,832 $3,360 $3,864
95838 $1,356 $1,488 $1,860 $2,640 $3,084 $3,546
95841 $1,380 $1,512 $1,896 $2,700 $3,144 $3,615
95842 $1,428 $1,560 $1,956 $2,784 $3,240 $3,726
95843 $1,656 $1,812 $2,280 $3,240 $3,780 $4,346
95864 $1,668 $1,824 $2,292 $3,252 $3,792 $4,360

Sacramento Housing & Redevelopment Agency 630 | Street, Sacramento CA 95814

(916) 440-1390 | TTY 711 or 1 (800) 855-7100 | www.shra.org

Exhibit U-3

G&

Rev. 9/26/22

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Exhibit U-4

THE ARBORS

AT ANTELOPE

WA

Applicant Name: 4 a
New Address:

Lease Term 3/31/2023 through 3/30/2024

Mail Box #: Sed

(mail boxes are pre assigned and cannot be changed)

Monthly Rent:
Monthly Concession: Sa

Upfront Concession (if applicable) id aie i

Pet Rent: ¥
Other:
Total: $2,704.62 **UTILITIES NOT INCLUDED**
MOVE IN CHARGES
Pro-rated rent: $94.52 From 3/31/2023 through 3/31/2023

Pro-rated pet rent: . | Days in Month

Pro-rated Concession: 31

Transfer/Application Fee: game.
Deposit*:
Next Month's Rent: eer cen Bia (if moving in after the 20th of the month)

Subtotal:

Less Payment Received (itemized below)
Application fee: "36%
Ilolding deposit:

F $52.46 per applicant (18 & older)
vig (Will be applied to the security deposit at move in)

Payable with a cashier's check only.
Total Due at Move-in*: $3,391.87 *Amount subject to change.

Gas/Electric must be connected prior to move in date:
Gas Provider PG & E - 800.743.5000 - PGE.com Acct. #
ElectricProvider SMUD - 888.456.7683 - SMUD.org Acct, #

Renters Insurance with $300,000 liability coverage is Required at Move In.
Rent and Utilities are both due on the Ist of each month.

All persons will be treated fairly and equally without regard to race, color, religion, sex, mental or physical disability, sexual orientation, familial status, or
national origin m compliance with the Fair Housing Act.

1 understand that the application fee 1s a non-refundable payment for a credit check and processing charge of this application and such sum is not a rental
payment or security deposit. This amount will be retained by the Agent to cover the cost of processing the application as fumished by the applicant; any false
information will constitute grounds for rejcetion of the application Proof of income must be submittedand approved within 72 hours of of this holding agreement
date and applications are not fully approved until signed off by management

Fees Application $52.46 Application Fees are Non Refundable

I hereby render a hoiding deposit of $200.00 with the Agent. This amount will be refunded within 21 days if the application is denied or if the applicant
withdraws the application in writing within 72 hours of the date of the signed application. If the application is accepted and the applicant fails to occupy the
premises on the agreed upon date, except for delay caused by the Agent, the deposit amount will be retained by the Agent as liquidated damages for holding the
apartment o} . ANY APPLICATION NOT APPROVED WITHIN 72 HOURS OF INITIAL APPLICATION DATE WILL AUTOMATICALLY BE
DENIED, DS Applicant Initials

MISCELLANEOUS

We will not release possession of any unit until all identification has been scanned and verified using our Checkpoint system !f any legal action or proceeding is
brought by either party to enforce any part of this Agreement, the prevailing party will recover, in addition to all other relief, reasonable attorneys’ fees and costs

If we are unable to deliver possession of the premises to you on the scheduled move-in date for any reason we will not be liable for the delay, nor will this affect
the validity of this Agreement or the rental agreement/lease, nor extend the term of any rental agreement/lease. However, rent will not accrue under the rental
agreement/lease until possession of the premises is tendered to you If we have not tendered possession of the premises to you within three days of the scheduled
ESC you may withdraw your application and/or terminate the rental agreement/lcase at any time until we tender possession of the premises to 'é

03/25/2023 Revised 8/9/21

Applicant's Signature Date
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Exhibit U-5

*
™M Gmail David Samuel <davidsa@possiblymaybe.com>

Waive or Expedite HQS inspection, expedited RTFA processing

Reasonable Accommodations <ra@shra.org> Tue, Apr 4, 2023 at 4:32 PM
To: David Samuel <davidsa@possiblymaybe.com>, Reasonable Accommodations <ra@shra.org>

Hello Mr. Samuel,

We are not able to "waive the Housing Quality Standards (HQS) inspection" as this is not allowed by HUD, even with
a reasonable accommodation. The Request for Tenancy Approval (RFTA) attached is incomplete and it will require
the head of household to sign. In addition, there is much more to the form that is missing. The most expeditious
method of submitting a RFTA would be for your landlord to submit the eRFTA at: htips://rfta.shra.org /. We will
expedite, however, it will not be "immediate."

Although we do not recommend moving in prior to the inspection, it is your family's decision to make. Please,
understand that the subsidy will not begin until the inspection has passed. The risk of moving in prior to the RFTA
being processed and/or the inspection passing is that it may not be approved or pass and you will then be responsible
for the full contract rent for the duration of your lease.

You may reach out to your caseworker with additional questions related to the RFTA at 916.440.1390. Please, find
attached the most recent reasonable accommodation decision letter.

Here is the ZOOM link for the Informal Hearing on 04.20.2023:
Join Zoom Meeting
https://shra-org.zoom.us/j/89874208936
Meeting ID: 898 7420 8936
One tap mobile
+16694449171,,89874208936# US
+16699009128, 89874208936# US (San Jose)
Dial by your location

+1 669 444 9171 US

+1669 900 9128 US (San Jose)

+1 253 205 0468 US

+1 253 215 8782 US (Tacoma)

+1 346 248 7799 US (Houston)

+1719 359 4580 US

+1 386 347 5053 US

+1 507 473 4847 US

+1 564 217 2000 US

+1646 558 8656 US (New York)

+1646 931 3860 US

+1689 278 1000 US

+1 301 715 8592 US (Washington DC)

+1 305 224 1968 US

+1 309 205 3325 US

+1 312 626 6799 US (Chicago)

+1 360 209 5623 US

833 548 0276 US Toll-free

833 548 0282 US Toll-free

877 853 5257 US Toll-free

888 475 4499 US Toll-free
Meeting ID: 898 7420 8936
Find your local number: https://shra-org.zoom.us/u/keaNVHZOkf
Best,

lbra Henley (she/her/hers)
Housing Choice Voucher (HCV)
Case 2:22-cv-01699-DJC-AC Document91-1 Filed 04/10/25 Page 13 of 15
Exhibit U-5

Sacramento Housing and Redevelopment Agency
916.449.6346

ihenley@shra.org

www.shra.org

This email and any attachments thereto may contain private, confidential, and privileged material for the sole use of
the intended recipient. Any review, copying, or distribution of this email (or any attachments thereto) by other than the
sender or the intended recipient is strictly prohibited. If you are not the intended recipient, please contact the sender
immediately and permanently delete the original and any copies of this email and any attachments thereto.

[Quoted text hidden]

2 attachments

f Roberts, Sydney t0032944.pdf
94K

Bq Roberts, Sydney t0032944 Multiple decisions.pdf
232K
Case 2:22-cv-01699-DJC-AC Document91-1 Filed 04/10/25 Page 14 of 15
Exhibit U-5

s
MM Gmail David Samuel <davidsa@possiblymaybe.com>

Waive or Expedite HQS inspection, expedited RTFA processing

David Samuel <davidsa@possiblymaybe.com> Mon, Apr 3, 2023 at 12:29 PM
To: Reasonable Accommodations <ra@shra.org>, Caitlyn Grabill <cgrabill@consumersselfhelp.org>, Gustavo Ayala
<gayala@consumersseifhelp.org>, "Dulce C. Candy" <maddy@possiblymaybe.com>, "Maddy, David and Artemis
Samuel" <home@possiblymaybe.com>

We would like to request as a reasonable accommodation that the HQS
inspection requirement for the RFTA submitted for the unit we are
attempting to lease be waived or expedited to allow immediate move in.

The unit we are currently living in is not under lease, and we have
been served with an unlawful detainer and summons several days ago
indicating formal eviction from the premises is imminent. We have
also been informed by our service agency that utilities to our current
address unlivable.

We require this expedition to purse our educational, medical, and
employment goals, which would otherwise be harmed by the delay in
approval.

Please find attached a copy of our unlawful detainer notice, and
notice from Sacramento Self Help Housing indicating utilities are
being terminated and a copy of the completed RFTA for new housing.

David

4 attachments

g SSHH_Notice-of-Gas-and-Electricity-Termination_03-31-2023.pdf
57K

a SSHH_Untawful-Detainer_Notice_03-18-2023.pdf
54K

a SSHH_Unlawful-Detainer_Summons_03-18-2023.pdf
5229K

Q SHRA_RFTA_The-Arbors_7957-Papago-Way_04-02-2023.pdf
256K
Case 2:22-cv-01699-DJC-AC Document91-1 Filed 04/10/25 Page 15of15

NAME, ADDRESS AND TELEPHONE NUMBER OF ATTORNEY(S)
EDWARD P. GARSON (SBN 96786)

MONICA CASTILLO (SBN 146154)

WILSON ELSER MOSKOWITZ EDELMAN & DICKER
655 Montgomery Street, Suite 900

San Francisco, CA 94111

Telephone: (415) 433-0990

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

Sydney Brooke Roberts, CASE NUMBER

David Samuel,

A.LM.LS.,

DAY.S., PLAINTIFF(S), 2:22-cv-01699-DJC AC

Vv.
Sacramento Housing and Redevelopment
Agency, et. al,

PROOF OF SERVICE - ACKNOWLEDGMENT

DEFENDANT(S). OF SERVICE

I, the undersigned, certify and declare that I am over the age of 18 years, employed in the County of
Sacramento , State of California, and not a
party to the above-entitled cause. On __ April 10 ,20__ 25 _, I served a true copy of

NOTICE OF SUPPLEMENTAL FILING
by personally delivering it to the person (s) indicated below in the manner as provided in FRCivP 5(b); by
depositing it in the United States Mail in a sealed envelope with the postage thereon fully prepaid to the following:
(list names and addresses for person(s) served. Attach additional pages if necessary.)

Place of Mailing: 3350 Arapaho Way, Antelope, CA 95843
Executed on ___April 10 , 20_25 at_Sacramento , California

Please check one of these boxes if service is made by mail:

QO) I hereby certify that [ am a member of the Bar of the United States District Court, Central District of
California.

QO) [hereby certify that Iam employed in the office of a member of the Bar of this Court at whose direction the
service was made.

I hereby certify under the penalty of perjury that the foregoing is true and correct.

Barbora McGarvey

Signature of Person Making Service

ACKNOWLEDGEMENT OF SERVICE

I, , received a true copy of the within document on

Signature Party Served

CV-A0 (01/00) PROOF OF SERVICE - ACKNOWLEDGMENT OF SERVICE
